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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF ARKANSAS
                               HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                      )
                                                              )    Case No.
       v.                                                     )
                                                              )    FILED UNDER SEAL
DEREK SCOTT FINKBEINER                                        )


                                           AFFIDAVIT

       I, Brian Ambrose, a Special Agent (SA) with the Federal Bureau of Investigation (FBI),

hereby depose and state that the following is true and correct upon my personal knowledge,

investigation, and belief.

                         BACKGROUND & AFFIANT EXPERIENCE

       1.      I am a Special Agent of the Federal Bureau of Investigation, United States

Department of Justice. I am an “Investigative or law enforcement officer . . . of the United States”

within the meaning of Title 18, United States Code, Section 2510(7), and am empowered by law

to conduct investigations of and make arrests for offenses enumerated in Title 18, United States

Code, Section 2516.

       2.      I have been employed as a Special Agent of the FBI since March 2018. I am

currently assigned to the Little Rock Division’s White Collar Crime Squad, with the responsibility

of leading investigations involving public corruption of domestic public officials. I have also

served as a member of the Special Weapons and Tactics (SWAT) team for approximately four

years, and in connection with those responsibilities have participated in large-scale arrests of drug

trafficking and violent offenders. In connection with my official duties, I am charged with

investigating violations of federal criminal laws. I have received training in narcotics enforcement,

money laundering, violent crimes, and asset forfeiture.

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       3.      During my time as a law enforcement officer, I have participated in numerous

investigations of unlawful narcotics distribution, public corruption, firearms violations, and violent

crime, including gang activity and crimes against children. My experience encompasses both

domestic and extraterritorial investigations including multi-agency, multi-government efforts

focused on disrupting international criminal organizations conducting large scale narcotics

trafficking, money laundering and other illicit activities. I have been involved in all aspects of

federal criminal investigations, including, among other things, debriefing defendants, sources, and

informants; conducting surveillance and undercover operations; executing search and seizure

warrants; reviewing Call Detail Records, monitoring Title III wiretaps; and analyzing documentary

and physical evidence. I have been tasked with operating multiple Confidential Human Sources,

also referred to as Confidential Informants (CI). Through my training, education, and experience,

I have become familiar with the manner in which illegal drugs are transported, stored, distributed,

and the methods of payments for such drugs. I am also familiar with the methods by which

narcotics traffickers communicate and the code words commonly used by narcotics traffickers. I

am also familiar with the manner and methods by which drug dealers launder their proceeds of

illicit drug trafficking and distribution, as well as their use of firearms to protect themselves, their

proceeds, and their drugs. The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from other agents and witnesses. This affidavit

is intended to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of federal law, as listed below, have been committed

by Derek Scott FINKBEINER. The suspected violation is as follows:



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        i.    Title 18, United States Code, Section 1512(c)(2), commonly referred to as Obstruction

              of Justice.

                                           JURISDICTION

         5.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by Title 18, United States Code, Section 2711. Specifically,

the Court is a District Court of the United States that has jurisdiction over the offense(s) being

investigated as defined by Title 18, United States Code, Section 2711(3)(A)(i).

                                         PROBABLE CAUSE

   I.         AUDIO RECORDING AT

         6.       On May 16, 2023, the Group 6 Narcotics Enforcement Unit (Group 6) and Malvern

Police Department notified the Federal Bureau of Investigation, Little Rock Field Office, of an

ongoing narcotics investigation into                                 , telephone numbers

        and                     . Group 6 conducted seven (7) controlled purchases of substances

believed to be methamphetamine (meth), between April 13, 2023, and May 24, 2023, from

at his residence located at                      , Perla, Arkansas, which is located in Hot Spring

County. Hot Spring County, Arkansas, is located within the Hot Springs Division of the Western

District of Arkansas. All controlled purchases were audio and/or video recorded using the same

Confidential Informant (CI1), and all purchased substances were field tested with positive results

for methamphetamine.

         7.       CI1 arranged the controlled purchases of meth from           via phone call and text

message to                  phone,              . Toll records for           phone,                  ,

and content of text messages provided by CI1 corroborate use of that facility to arrange the

meetings and transactions.



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          8.        CI1 reported to Group 6 that approximately a week prior to the controlled purchase

on April 13, 2023, CI1 was at                 residence and had a conversation with           regarding

his friend “Scott.”             told CI1, that Scott was the new Sheriff, they were friends for a long

time and smoked meth together.                 told CI1 that Scott left                   immediately

before he/she arrived on that day.

          9.        Following the conversation with          , CI1 confirmed via text message to

               , using a picture from Facebook, that           friend, “Scott,” was Hot Spring County

Sheriff, Derek Scott FINKBEINER, telephone number                                      . Derek Scott

FINKBEINER is the elected Sheriff of Hot Spring County, Arkansas, entering office in or around

January of 2023. Further, based on my own personal knowledge and information obtained during

the course of this investigation, FINKBEINER utilizes his middle name of Scott in his day to day

life and is generally known as “Scott” FINKBEINER, as opposed to “Derek” FINKBEINER.

          10.       At approximately 2:00am on May 21, 2023, while CI1 was at                 residence,

not under tasking by Group 6 investigators,                told CI1 that FINKBEINER was on his way

over to                        . At that point, CI1 began audio recording through an application on

his/her cellphone. According to CI1, voices captured on the audio recording belong to CI1,

and FINKBEINER. Analysis of Call Detail Records for FINKBEINER’s phone,                                ,

reflect a phone call to                phone as well as cellular activity including ten (10) additional

phone calls and two (2) text messages exchanged with other individuals from approximately

12:19am through 2:51am on May 21, 2023. Historical Cellular Site data provided by Verizon

Wireless for FINKBEINER’s phone show that all eleven (11) calls made or received during that

period place FINKBEINER’s cellular phone in the coverage area for the cellular tower and sector

covering                         . The cellular tower and sector that cover the vicinity of



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      is distinct from the cellular tower and sector that cover the vicinity of the Hot Spring County

Sheriff’s Office, which is also distinct from the cellular tower and sector that cover the vicinity

surrounding FINKBEINER’s residence.

           11.      CI1 provided a description of activities and interactions that occurred in his/her

presence at                         and which were captured during the audio recording on May 21,

2023. The recording corroborates CI1’s reporting regarding the timeline, sounds and conversations

captured therein. Any text quoted in the summary refers to transcribed words captured on the audio

recording. CI1’s description, as corroborated by the recording is as follows:

      i.         CI1 met FINKBEINER in the driveway of                            by his white police

                 vehicle, wearing a green polo shirt with gold writing on the upper chest and some sort

                 of vest. After a brief conversation with CI1, FINKBEINER removed his badge and

                 firearm and left them in the car before walking into                        with CI1.

                 Immediately upon entering                      ,        handed FINKBEINER a pipe

                 with meth in it. FINKBEINER sat in the main room of the residence and began to

                 smoke from the pipe.

     ii.                 left the main room and FINKBEINER propositioned CI1 for sex. He took out

                 approximately $60.00 in cash and said, “I’ll make it worth your while.” CI1 told

                 FINKBEINER that he/she was not a prostitute. FINKBEINER then asked CI1 to

                 perform oral sex on him. CI1 refused.

    iii.         CI1 told FINKBEINER that he/she did not want to do anything while              was in

                 the next room. In response, FINKBEINER offered to follow him/her home. In

                 reference to the proposition for sex, FINKBEINER also told CI1, “…he’s [             ]




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                the one that suggested it” and “that’s why he went in there he said he was going to give

                me some time.”

    iv.         After         returned to the room, CI1 indicated that he/she had to leave. At that point,

                FINKBEINER offered CI1 the meth pipe he was smoking from and said, “Can you do

                me one favor before you leave, it’ll make me feel better, take a puff of that.”

                then said, “You don’t need to worry about him [FINKBEINER], he’s been my friend

                for damn near 35-40 years already… we’re like brothers.” CI1 reported that he/she

                smoked from the pipe and handed it back to FINKBEINER.

     v.         FINKBEINER told              to leave the room again and asked CI1 to sit next to him

                on the couch.             left the room and CI1 sat next to him. FINKBEINER

                propositioned him/her again to perform oral sex.

    vi.         CI1 reported that he/she felt intimidated since FINKBEINER was wearing a uniform

                and said earlier that he could follow him/her home. CI1 reported that FINKBEINER

                started to unbutton his pants, grabbed CI1’s hand and put it on his penis.

   vii.         CI1 reported that he/she thought “it was either sex or a hand job,” so he/she used lotion

                that was near the couch and indicated that he/she gave FINKBEINER a “hand job.”

                CI1 reported that he/she had to stop after he/she started gagging and felt like he/she

                was going to vomit.

   viii.        He/She left the residence shortly after the audible sex act occurred on the recording.

   II.          CONTROLLED PURCHASE OF NARCOTICS

          12.      On August 03, 2023, FBI conducted the controlled purchase of narcotics from

                        at                   . The drug buy was audio and video recorded, and is

summarized as follows:



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    i.   After CI1 knocked and rang the doorbell multiple times,               answered the door

         and let CI1 inside just after 08:40am.

   ii.           said he just woke up and forgot that CI1 would be stopping by. CI1 observed

         a female,         later identified as his girlfriend, asleep on the couch.

  iii.           sat down in a chair in the kitchen and appeared to keep falling asleep, before

         getting up and starting to make coffee.

  iv.    As he was making coffee,             told CI1 that the Sheriff, Scott FINKBEINER, was

         at his house the previous night.           said the Sheriff had known the female asleep

         on the couch from a long time ago.

   v.    CI1 left the house at approximately 08:55am to go to his/her vehicle and smoke a

         cigarette. When he/she went back in the residence, CI1 could not find            .

  vi.    As he/she was calling for            and looking around the residence, CI1 ran into an

         unknown male in the house that introduced himself as "Joe." Joe spoke briefly with

         CI1 before CI1 continued to look for           .

  vii.   CI1 found           looking for his supply of meth, and the two spoke about how the

         man in the house who introduced himself as “Joe” was actually FINKBEINER. CI1

         did not immediately recognize FINKBEINER. CI1 then returned to the kitchen to wait

         for         to complete the purchase.

 viii.   At approximately 09:02am, while waiting for            , CI1 initiated a conversation with

         FINKBEINER. In that conversation, FINKBEINER said that he did not remember

         meeting CI1. During that conversation, CI1 addressed him as “Scott,” reintroduced

         himself/herself and referenced the occasion they last met at            residence (which

         was on May 21, 2023, the date of the previously referenced audio recording provided



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         by CI1). A brief conversation about FINKBEINER possibly pulling over CI1 also took

         place.

  ix.    Prior to leaving the residence, CI1 inquired to               where FINKBEINER was in

         order to say goodbye since he/she looked around the residence and could not find him.

                  asked CI1 to check if FINKBEINER's vehicle was still parked in the backyard.

         CI1 checked out back and saw FINKBEINER's black sedan parked far back in the tree

         line on the property.

   x.             found some meth and weighed it out for CI1. While             was preparing the

         meth for sale, CI1 inquired about FINKBEINER's vehicle parked out back and the two

         discussed how it was a police vehicle.

  xi.    At approximately 09:37am,                   placed the scales in the cabinet above the

         oven/stove top.           said FINKBEINER went back to his car because he had to go

         home.

  xii.   CI1 asked if anyone wondered where FINKBEINER was and                       replied that,

         "they can't say shit, he's the Sheriff... he'll fire their ass."      then referenced an

         individual named "Rainer" or "Raymond," saying that the Sheriff ran Rainer/Raymond

         out of town.

 xiii.   At approximately 09:40am                handed the packaged substance to CI1.

         briefly mentioned that someone posted a statement on Facebook saying, "Girl went on

         Facebook and said, 'somebody needs to tell Scott... he's stopping down at Mr.

         house and getting high on crack, he's stopping me from making my money.'...Because

         they see his car down here."            and CI1 exited the residence and spoke briefly by

         the vehicle before CI1 exited the property.



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          13.     Following the controlled purchase, CI1 was debriefed, searched, and confirmed that

FINKBEINER was the man he/she interacted with at                              . Immediately after CI1

departed              residence, a black Dodge Charger law enforcement vehicle with multiple radio

antennas departed the property. Physical surveillance followed the Charger to FINKBEINER’s

known residence in Malvern, Arkansas. Additionally, the substance distributed by              to CI1

was field tested with a positive result for methamphetamine.

          14.     Analysis of Historical Cellular Site data provided by Verizon Wireless for

FINKBEINER’s phone,                       , show twelve (12) calls made or received from the cellular

tower and sector covering                       between 9:26pm the night prior through 8:30am the

morning of the controlled purchase of narcotics. FINKBEINER’s phone called                     phone

eight (8) times between 9:42pm and 10:37pm on the night prior to the controlled purchase, when

          told CI1 that FINKBEINER was at                        .

   III.         VIDEO SURVEILLANCE FOOTAGE / INTERVIEW OF SUBJECT

          15.     An FBI video surveillance camera was placed on public property in the vicinity of

                      on August 18, 2023. On August 19, 2023, at approximately 12:56am, video

surveillance captured a white vehicle drive up in front of the residence located at                 .

Shortly thereafter, blue lights consistent with a police vehicle were observed flashing, and an older

thin black male, meeting the description for                 came outside.            as well as an

unidentified young white female stood out front next to the occupied white vehicle. Both

and the unidentified female appeared to speak with the individual inside the vehicle. During that

time, another unidentified white female approached the group from the vicinity of

      , then returned to a vehicle parked in the driveway of the residence.




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       16.     After approximately 10-15 minutes,                    and the unidentified young white

female motioned in the direction of the surveillance camera. At that point, a larger white male,

meeting the description of FINKBEINER, exited the vehicle wearing a dark polo-style shirt with

yellow or gold writing on the left chest, tucked into khaki pants.          then pointed at the camera,

and FINKBEINER briefly flashed a flashlight at the camera before returning to his vehicle and

shutting the door. Analysis of historical cellular site data for FINKBEINER’s phone,

     , reflect a phone call made from FINKBEINER’s phone to                    phone at 12:57am from

the coverage area for the cellular tower and sector covering                       .

       17.     Later in the day on August 19, 2023, FINKBEINER called FBI Little Rock Special

Agent Jennifer Nicholls multiple times via his                   phone number. During the first call,

FINKBEINER told SA Nicholls that he found a pole camera on                             and indicated that

his "CI" residing on                identified the camera 2-3 days prior.

       18.     FINKBEINER told SA Nicholls that he visited his CI after midnight on August 19,

2023, and he confirmed the existence of the pole camera by flashing his light at it. FINKBEINER

asked if it was an FBI pole camera. SA Nicholls responded that she did not know, but would follow

up after the weekend, to which FINKBEINER indicated he would "be shocked" if there was any

major narcotics on Adams Street.

       19.     FINKBEINER indicated that the CI that resides on                           is a source of

information and evidence for allegations related to an investigation into the theft of city funds

involving another resident on                 . FINKBEINER indicated he knew this CI because he

knew the CI’s mother and that he had no concerns of violence occurring on                       .

       20.     FINKBEINER contacted SA Nicholls a few hours later via his

phone number and indicated that he identified the individual who put up the pole camera as Aaron



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Hurst and asked whether or not he worked for the FBI. SA Nicholls confirmed that the individual

worked for the FBI and she again told FINKBEINER she would follow up on Monday.

       21.     Shortly after that phone call, at approximately 1:54pm on August 19, 2023,

FINKBEINER called Special Agent Aaron Hurst’s cell phone and left a voicemail identifying

himself and requesting a call back.

       22.     On Monday, August 21, 2023, FINKBEINER was contacted by Special Agents

with the FBI in response to his multiple requests for information regarding the installation of the

pole camera in the vicinity of                   . The telephone conversation was recorded.

       23.     During the conversation, FINKBEINER indicated that                is his CI, but since

        is not used to purchase narcotics, he is not documented on paper as an informant with the

Hot Spring County Sheriff’s Office. FINKBEINER said that               was a material informant on

a theft of government funds investigation into a Subject on                 as well as a recent drug

arrest made by Hot Spring County Sheriff’s Office.

       24.     FINKBEINER indicated he has known                for a long time. FINKBEINER said

        is a “shady individual,” and was previously a drug user, but as far as FINKBEINER knew,

        “has never been a drug seller.” FINKBEINER indicated he made it a point to drive by his

Subject’s residence on                , saying “I drive through there all the damn time.”

       25.     FINKBEINER asked Agents, “My question is, who is the target? I mean, hell, if

we are working in there, you know, who is y’alls target?” Interviewing Agents told FINKBEINER

that the pole camera was placed on                 as part of a drug investigation.

       26.     Agents asked if FINKBEINER knew of anything about drugs or gangs or anything

that could be occurring on                . FINKBEINER responded with, “Now




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probably still does some drugs, he’s not, I assure you, he ain’t moving a bunch of drug weight. If

he is, I’ll pass out, you know, if he had any significant drug roll.”

       27.       FINKBEINER said, to the knowledge of Hot Spring County Sheriff’s Office, there

is no significant drugs, other than use, on              . Agents asked FINKBEINER his thoughts

on the viability of leaving the surveillance camera in place. FINKBEINER said it would be useless

since his subject knows it’s there. FINKBEINER indicated that he went to               residence at

midnight on August 19, 2023, because he forgot to give him paperwork related to a fraud claim

made by           .

       28.       FINKBEINER discussed the unknown females captured on the video surveillance

footage on August 19, 2023, and indicated that he knew one of them to be a drug user, but said

that he only spoke with            , not the other females present, about the pole camera. Agents

asked FINKBEINER why he thought the female drug user would be at                  residence at that

time. FINKBEINER responded that                is one of those guys that always has girls that come

by to see him.

       29.       FINKBEINER then stated:

       Now there are all kinds of people that got dope, you say well they be just coming
       by there and he’s just give them some dope or whatever, well I don’t think first off
       he’s not in the business of selling, I don’t believe, I mean he might move a small
       amount, I don’t… he’s not on our radar… we’ve got other CIs that are acting like
       they don’t sell but they are selling and we know it…he’s not one of those.

       30.       FINKBEINER further stated:

       There is nobody on the radar that come to us at all and said he is moving any dope,
       you know in a significant amount, so I don’t think they are necessarily coming there
       for drugs, they’re coming there for sex.

       31.       Later in the call, in reference to the Sheriff’s Office Subject located on

      , FINKBEINER stated:



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         He made the damn comment that I was buying drugs and selling them from
                  , which is, you know, you can look at my damn bank account and see that
         ain’t right. But he don’t like me, so I don’t give a damn.

         32.     Before ending the call, FINKBEINER stated:

         I would be absolutely shocked, but if           is moving a bunch of weight of drugs
         then take him down. But if he’s just small-timing it, I would really appreciate it if
         y’all could wait until we get [the identified HSCSO subject on               ].

   IV.         STATEMENTS BY FINKBEINER AT STATE PROSECUTOR’S OFFICE

         33.     On August 22, 2023, FINKBEINER told a Malvern Police Department Lieutenant

at the State Prosecutor’s Office of his frustration with the FBI’s involvement in a case he is

working. FINKBEINER mentioned the FBI set up a pole camera that was complicating a case.

FINKBEINER intended to issue a type of order where he would establish a 14-block perimeter

around the designated area. FINKBEINER then asserted that if any FBI Agents were to enter that

area he would, “arrest every goddamn one of those FBI sons of bitches that steps foot over there.”

The Sheriff then emphasized that he believed the FBI has been monitoring the wrong individual

and vowed not to allow any further disruption of the case.

         34.     On August 23, 2023, FINKBEINER went to the Hot Spring County State

Prosecutor’s Office again complaining about the FBI. Multiple individuals were present for the

interactions, including the State Prosecutor and a Malvern Police Sergeant. FINKBEINER was

very vocal about how the FBI interfered with his investigation by putting a pole camera outside

his Confidential Informant’s house. FINKBEINER said his informant was a good guy, he’s known

him for a long time, and he felt like he could spend the night on the informant’s couch and not

worry about a thing.

         35.     FINKBEINER told the State Prosecutor that there was going to be a meeting with

an FBI Agent and his informant on August 23, 2023, at 3:00pm, and FINKBEINER intended to



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speak with the Agent prior to that meeting. If he did not like how that conversation with the FBI

Agent went, FINKBEINER indicated that he would tell his informant not to speak with the FBI.

FINKBEINER also mentioned he would tell his informant to invoke his 5th Amendment right.

       36.     According to the State Prosecutor, FINKBEINER seemed “amped up” and angry

at the FBI and was very vocal about his feelings. FINKBEINER was speaking about potential

avenues for arresting an FBI Agent for interfering with a Hot Spring County operation.

FINKBEINER also mentioned making calls to the Sheriff’s Association and to someone he knew

in the media about how the FBI is interfering in Hot Spring County investigations.

                                         CONCLUSION

       37.     Historical Cell Site data for target phone                               , shows that

FINKBEINER’s phone made or received phone calls while in the vicinity of the cellular tower and

sector covering                       on or around each occasion cited previously for when

FINKBEINER was allegedly at                          and present for or engaged in illegal activity,

including the use of illegal drugs, solicitation of sex, and sale of methamphetamine.

       38.     Cellular phone toll records for FINKBEINER reflect frequent and consistent

contact with          between January 1, 2023, and October 2, 2023. Analysis of toll records

received for FINKBEINER for that period reflect 130 phone calls exchanged between

FINKBEINER and             . Based on the information received from toll analysis, 108 of the 130

phone calls were made between 8pm and 3am, of which 63 phone calls were made after 10pm.

       39.     Based on the aforementioned information, I believe probable cause exists to show

that Derek Scott FINKBEINER corruptly endeavored to obstruct, influence, and impede an official

proceeding by attempting on multiple occasions to mislead federal investigators away from

       ,                    and the illegal activity he knew to be occurring therein.



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       40.      Prior to and since taking the office of Hot Spring County Sheriff, FINKBEINER

provided information to and worked with the FBI on multiple federal investigations with open and

active grand jury files. FINKBEINER is familiar with the federal investigative process and has

observed and participated in the service of federal grand jury subpoenas and the execution of

federal search warrants in Hot Spring County. Additionally, on one occasion, FINKBEINER was

acutely aware of the deployment and operation of an FBI pole camera for a federal investigation

with an ongoing grand jury file.

       41.      During the recorded interview with FBI Agents on August 21, 2023, FINKBEINER

indicated he was aware of an FBI surveillance pole camera in place in the vicinity of

      and was explicitly told by the interviewing Agent that it was placed as part of an ongoing

FBI investigation involving drugs. After clearly understanding that a surveillance camera was

placed on                  pursuant to an ongoing federal investigation, FINKBEINER then made

statements to the interviewing Agents as well as on separate occasions to other federal Agents, two

Malvern Law Enforcement Officers, and a State Prosecutor, minimizing any knowledge of illegal

activity involving                    or        .

       42.      On at least one occasion,            provided methamphetamine to FINKBEINER,

facilitated a sex act and arranged for the sale of narcotics while FINKBEINER was present at

            residence. Additionally, in my training and experience, the volume of phone contact

between              and FINKBEINER during the hours of 10pm and 3am is consistent with drug

activity and not indicative of how a law enforcement officer operates a legitimate confidential

informant.             made statements to CI1 concerning the inability of anyone to question

FINKBEINER’s activity at                       due to his position as an elected Sheriff. Based on

my training and experience, I believe FINKBEINER’s actions and statements were an effort to



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corruptly mislead federal investigators, and ultimately obstruct, influence, or impede an official

proceeding.

       43.     Based upon the foregoing facts, there is probable cause to believe that Derek Scott

FINKBEINER has violated Title 18, United States Code, Section 1512(c)(2), commonly referred

to as Obstruction of Justice.

       44.     Therefore, I respectfully submit this Affidavit in support of a Criminal Complaint

and pray that a warrant be issued forthwith for FINBEINER’s arrest thereupon.



                                                    Respectfully submitted,


                                                    /s/ Brian Ambrose (telephonically)
                                                    BRIAN AMBROSE
                                                    Special Agent
                                                    Federal Bureau of Investigation

       Sworn to before me on this ______ day of October, 2023.



                                                    _______________________________
                                                    HON. BARRY A. BRYANT
                                                    United States Magistrate Judge
City and State: _______________, Arkansas           Western District of Arkansas




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